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 4   Email: LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     Nakia Vaughn
 6
                    IN THE UNITED STATES DISTRICT COURT
 7
              IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )   Case No. MAG 12-18 DAD
10                                     )
              Plaintiff,               )   STIPULATION AND ORDER
11                                     )   CONTINUING PRELIMINARY HEARING
         Vs                            )   AND ORDER EXCLUDING
12                                     )   TIME
     NAKIA VAUGHN, et. al.,            )
13                                     )   ORDER
              Defendant                )
14                                     )
                                       )
15

16       IT IS HEREBY STIPULATED by and between Assistant United
17   States Attorney Michelle Rodriguez, Counsel for Plaintiff, and
18
     undersigned counsel for defendant Vaughn, that the preliminary
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     hearing scheduled for February 24, 2012 at 2:00 PM, be vacated
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     and the matter be continued to this Court's calendar on February
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     27, 2012, at 2:00 P.M for preliminary hearing.
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         This continuance is requested by the defense because
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     undersigned counsel will be unavailable on Friday at 2:00 PM due
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     to a scheduling conflict.
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 1       IT IS FURTHER STIPULATED that time for trial under the
 2   Speedy Trial Act, 18 U.S.C. § 3161, et. seq. be tolled pursuant
 3
     to § 3161(h)(7)(A) & (B)(iv), Local code T-4 (continuity of
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     counsel), and that the ends of justice served in granting the
 5
     continuance and allowing the defendants further time to prepare
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     outweigh the best interests of the public and the defendant in a
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     speedy trial. The Court is advised that all counsel have
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     conferred about this request, that they have agreed to the
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     February 27, 2012, date, and that all counsel have authorized
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     Mr. Bigelow to sign this stipulation on their behalf.
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13   IT IS SO STIPULATED

14
     /S/ MICHELLE RODRIGUEZ
15   Michell Rodriguez, Esq.,                     Dated: February 21, 2012
     Assistant United States Attorney
16   Attorney for Plaintiff
17   /S/MICHAEL B. BIGELOW                        Dated: February 21, 2012
     Michael B. Bigelow
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     Attorney for Defendant
     Nakia Vaughn
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 1                                                     ORDER
 2
                           IT IS ORDERED: that pursuant to stipulation the above
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 4   referenced matter shall be continued until February 27, 2012 at

 5   2:00 PM, and time excluded for the reasons set forth above.

 6   Date:                  2/21/2012

 7                                                     ________________________________
                                                       KENDALL J. NEWMAN
 8                                                     UNITED STATES MAGISTRATE JUDGE
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     DEAC_Signature-END:




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